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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JERALD LENTINI, et al.,             *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                Civil Action No. 1:25-cv-00166 (JMC)
                                    *
DEPARTMENT OF GOVERNMENT            *
EFFICIENCY, et al.,                 *
                                    *
      Defendants.                   *
                                    *
*************************************
                                    *
AMERICAN PUBLIC HEALTH              *
ASSOCIATION, et al.,                *
                                    *
      Plaintiffs,                   *
                                    *
      v.                            *                Civil Action No. 1:25-cv-00167 (JMC)
                                    *
OFFICE OF MANAGEMENT AND            *
BUDGET, et al.,                     *
                                    *
      Defendants.                   *
                                    *
*     *       *     *   *     *     *                *       *       *       *       *          *

                                NOTICE OF NEW EVIDENCE

       In support of their Motion for Expedited Discovery, Dkt. #20, Plaintiffs Jerald Lentini,

Joshua Erlich, and National Security Counselors, Inc. hereby submit new evidence which

conclusively demonstrates that expedited discovery is urgently needed to ascertain the nature of

the Department of Government Efficiency and its relationship to the United States DOGE

Service, of which Amy Gleason is the Acting Administrator. At approximately 9:46 PM,

President Trump stated the following in his Joint Address to Congress:

       To further combat inflation, we will not only be reducing the cost of energy, but
       will be ending the flagrant waste of taxpayer dollars. And to that end, I have created
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          the brand new Department of Government Efficiency, DOGE. Perhaps you’ve
          heard of it. Perhaps. Which is headed by Elon Musk, who is in the gallery tonight.

Live: Donald Trump delivers speech to Congress, Assoc. Press (Mar. 4, 2025), at

https://www.youtube.com/watch?v=LEygBVr1neI (last accessed Mar. 4, 2025) (emphasis

added).

Date: March 4, 2025

                                                   Respectfully submitted,

                                                    /s/ Kelly B. McClanahan
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                                                   Counsel for Plaintiffs Lentini, Erlich, and NSC




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